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In the United States Court of Federal Claims

Nos. 13-604(}C; 13-6001€ through 13-6039C;13-6041C
through 13-6057C; 13~6(}59C through 13-6114€; 13-6116€
through 13-612[}€; 13-6122€ through 13~6149€; 13~6151€;
13-6152C; 13-6154€ through 13-6167€; 13-6169€ through
13~6213€; 13-6215C through 13~6221€; 13~6223€ through
13-6243€; 13-6246€; 13-6248€ through 13-6262€; 13-
6264C through 13-6283€; 13~6285C through 13-635’7C
(Consolidated)

CLEARWATER H()USING
AUTHORITY, et al.,

Plaintiffs,
CORRECTED JUDGMENT
v.

THE UNITED STATES,

Defendant.

Pui'suant to the court’s Oi'der, filed June 20, 2017,
l'l` IS ORDERED AND ADJUDGED this date, pursuant to Rule 58, that plaintiffs
recover of and from the United States the total amount of $136,654,144.00, allocated as specified

in the attached table, and Counts ll and lII of the amended complaint are dismissed as moot.
Pfaintiffs are awarded costs pursuant to Rule 54(d).

Lisa L. Reyes
Acting Clerl< of Coui‘t

June 27, 2017 By: s/ Anthony Curry

Deputy Clei'k

NOTE: As to appeal, 60 days from this date, see RCFC 58.1, re number of copies and listing of
all plaintiffs Fiiing fee is $505.00.

 

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EXHIBIT I - STIPULATION OF I)AMAGES

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

PHA Case Number Damages

Housing Authority of Carbon No.13-6001 $16,386
Hill, AL064

Housing Authority of the City No. 13~6002 $2,028,481
of Dothan, AL007

Housing Authority ofthe City No. 13~6003 $112,539
of Enterprise, ALl 15

Oz,arl< Housing Cornniunity, No. 13~6()()4 $257,741
ALU73

Housing Authority of the City No. 13-6005 $()
of Phenix City, ALOOS

Montgoniery Housing No. 13-6006 $2,368,244
Authority, AL006

Housing Authority of the City No. 13~6007 $41,227
of Chicl<asaw, ALi66

Russellville Housing No. 13-6008 $66,079
Authority, AL060

Housing Authority of Greene No. 13~6009 $3 07,776
County, AL190

Alexander City Housing No. 13-6010 $438,178
Authority, AL174

Hous.i.ng Authority of the City No. 13-6011 330
of Tuskegce, ALl 60

I"lousing Authoi'ity of No. i3~6012 $303,183
Winlield, ALUSS

Housing Authority of the City No. 13-6013 333 92,661
cf Noi'th Little Rock, AROOZ

Housing Authority of the No. 13~6014 $153,981
County of Santa Barbara,

CA()Zi

l~iousing Authority of the No. I3-6015 $807,300
County of Butte, CA043

Housing Authoi‘ity of the City No. 13-6016 $995,787
of Fresno, CAUOG

Housing Authoi'ity of Fresno No. 13-6017 $324,815
County, CAOZS

Housing Authoi'ity of the City No. 13-6018 $254,1()7
of Madera, CA069

Housing Authoi'ity of the No. 13-6019 $1,140,927

 

 

 

 

 

County of Stanislaus, CA()26

 

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Housing Authority ofthe City No. 13-6020 $57,410
of South San Fi'ancisco,

CAOlS

Housing Authority of the No. 13-6021 $16,830
County of Kings, CAOS 3

Plunias County Cornmunity No. 13-6022 $91,013
Developrnent Cornmission

and Housing Authority,

CA070

Housing Authority of thc City No. 13-6023 $l,401
of San Luis Obispo, CAO64

Housing Authority of the No. 13-6024 $988,546
County of Merced, CA023

Housing Authority of the City No. 13~6025 $111,285
of Upland, CA009

Hc)using Authority of the City No. i3~6026 $133,5 82
of Delta, COO40

Conejos County Housing No. 13-6027 $80,824
Authority, COO?)S

Stratford Housing Authority, No. 13-6028 $843,740
CT027

Middletown Housing No. 13-6029 $769,327
Authority, CTOOQ

Housing Authority of the City Nc. 13»6030 $488,299
of Willirnantic, CTO l 0

Housing Authority of the Nc. 13-6031 $l43,089
Town of Glastonbury, CTO40

Mili"ord Redeveloprnent and No. 13-6032 $584,903
Housing Partnership, CT()30

Housing Authority of the City No. 13-6033 $1,132,200
of New Britain, CTOOS

Newai'k Housing Authority, No. 13-6034 $47,120
DE003

Palatl<a Housing Authoi'ity, No. 13-6035 $872,372
FLOS?

Housing Authority of the City No. 13-6()36 $1,422,579
of Foit Pierce, FL041

Broward County Housing No. 13-6037 $887,763
Authoi'ity, FL()'YQ

Sarasota Housing Authority, No. 13-6038 $719,636
FLOOS

Decriield Beach I-lousing No. 13~6039 $85,371
Authority, FL()SI

Cleai‘Water Housing No. 13-6040 $295,168

Authority, FLO75

 

 

 

 

 

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Orlando Housing Authority, No. 13~6041 $0
FL004

I~lousing Authority of the City No. 13»6042 $350,0]5
of NeW Smyrna, FLOZZ

Boca Raton Housing No. 13-6043 $51,694
Authority, FLl 19

Ai‘ea Housing Commission, No. 13-6044 $1,386,230
FL006

Hialeah Housing Authority, No. 13-6045 $1,525,927
FL066

Defunial< Springs Housing No. 13-6046 $72,880
Authority, FL039

Housing Authority of the City No. l3-6047 $9()8,2()5
of Arnericus, GA062

Flint Arca Consolidatcd No. 13-6048 $O
Housing Authority,

GAZSO

Housing Authoi‘ity of the City No. 13~6049 $846,476
of Augusta, GAOOI

Housing Authority of No. 13-6050 $ l 85,4 82
Dougias County, GA106

Housing Authority of No. 13-6051 $2,762,965
Savanah, GAOOZ

Housing Authority of the City No. 13-6053 $256,428
of Lan'encevilie, GA093

Housing Authority of the City No. 13-6054 $339,386
of Decatur, GAOI}

Housing Authority of the City No. 13-6055 $0
of Dublin, GA069

Housing Authority of the City No. 13-6()56 $224,825
of Barnesville, GA177

l~lousing Authoi'ity of thc City No. 13~6057 $144,951
oi" Hinesville, GAZZI

Housing Authority of the City No. 13-6059 $106,577
cf Tifton, GA]OI

Housing Authority of the City No. 13~6060 $342,138
of Sylvcster, GA104

Winder Housing Authority, No. 13-6061 $244,976
GA183

Waycross Housing Authority, No. 13-6062 $196,378
GAOZS

Etowah Ai'ea Consolidated No. 13-6()63 $939,292
Housing Authority, GA281

Blackshear Housing No. 13-6064 Sl34,503

Authority, GA134

 

 

 

 

 

 

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Housing Authority of No. 13-6065 $81,001
Cocln'an, GA077

Housing Authority of the City No. 13-6066 8109,641
of Eatonton, GAO72

Houston County Housing No. 13-6067 $3,650
Authority, GA268

Lavonia Housing Authority, No. 13-6068 $226,787
GA094

Housing Authority of No. 13-6069 $80,521
Lithonia, GAI 88

Roberta Housing Authority, No. 13-6070 8104,221
GA223

Wrightsville Housing No. 13~6071 $162,116
Authcrity, GAl 81

Housing Authority of the City No. 13-6072 $1,042,329
of Gainesville, GA059

Housing Authoi'ity of thc City No. 13-6073 8241,158
of Cedartown, GAOZS

East Point Housing Nc. 13-6074 $972,699
Authority, GA078

Southwestern Idaho Nc. 13-60'75 8£33,325
Cooperative Housing

Authority, lDOl 6

Housing Authority of No. 13~6()76 $284,459
Charnpaign County, IL006

Housing Authority of the No. 13~6077 8186,975
County of Lake, IL056

Gi‘eater I\/letrcpolitan No. 13-6078 $l,206,203
Housing Authority of Rocl<

lsland County, lLOlO

Housing Authority of the No. 13-6079 $71,153
County of Richland, lL096

l\/lcnai‘d County chsing No. 13-6080 8198,985
Authority, lL028

Fulton County Housing No. 13-6081 8447,005
Authority, IL084

Warren County Housing No. 13~6082 8633,897
Authoi‘ity, IL091

Housing Authority of No. 13-6083 8181,2()5
McDonough County, IL()76

Housing Authcrity of the City No. 13-6084 $8?9,095
of Marion, lL126

Livingston County Housing No. 13-6085 $0

Authority, IL094

 

 

 

 

 

 

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Randoiph County Housing No. 13-6086 $440,268
Authority, IL052

Housing Authoi‘ity of the No. 13~6087 30
County of Wayne, IL088

Whiteside County Housing No. 13~6088 $367,082
Authority, IL032

KnOx COunty Housing No. 13-6089 $204,847
Authority, IL085

Housing Authority of LaSalle No. 13-6090 8688,659
County, lL()l4

Housing Authority of the No. 13-6091 $643,923
County of Jackson, IL053

Springtield Housing Nc. 13-6092 $0
Authority, lL004

Housing Authority of the City No. 13-6093 $162,3 50
ofl\/lichigan City, IN019

l\/larion Housing Authcrity, No. i3~6094 8128,328
IN041

Housing Authoi'ity of the City No. i3-6095 $345,111
of Mishawal<a, INOZO

Housing Authority of the City No. 13-6096 80
ofNeW Aibany, TNOIZ

Anderson Housing Authority, No. 13~6097 80
IN006

Peru Housing Authority, No. 13-6098 $98,697
lNOQl

Central lcwa Regional No. l3-6099 $296,597
Housing Authority, lA l 3 l

Housing Authority of the City No. 13-6100 $61,277
of Holton, KSOO8

Local Housing Authoi‘ity of No. 13-6101 8197,515
the City of Newton, KSO73

l~lousing Authority of the City No. 13-6102 $39,280
Of Atchison, KS()l 7

Housing Authci'ity of the City No. 13-6103 892,938
of Iola, KSO49

Housing Authority of the City No. 13-6104 8690,949
of Glasgow, KY026

Housing Authority of No. 13-6105 810,097
Cynthiana, KYOZ}

Housing Authority of No. 13»6106 8192,860
Catlettsburg, KY033

Housing Authority of Todd No. 13-6107 $l l 1,274

County, KY170

 

 

 

 

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Housing Authoi'ity of No. 13-6108 $444,662
Pikeville, KYlO?

Kentucl<y Housing No. 13~6109 80
Association

Housing Authority of No. 13-6110 $104,125
BoWling Green, KY063

Housing Authority of Lyon No. 13~61 ll $81,573
County, KY025

Moru'oe Housing Authority, No. 13-6112 8741,574
LA006

I-Iousing Authority of No. 13-6113 8149,225
Jefferson Parish, LA013

Housing Authority of the City No. 13-6114 $491,166
of Shi‘evepoi't, LAOUZ

Waterville l~lousing No. 13-6116 833,786
Authority, ME008

Bangor Housing Authority, No. 13-6117 $1,308,439
ME009

Auburn Housing Authority, No. 13~6118 $163,418
ME007

Lewiston Housing Authority, No. 13»6119 8166,166
MEOOS

South Portland Housing No. 13-6120 836,100
Authority, MEOZO

Housing Authoi'ity of the City No. 13"6122 $244,628
cf Hagei'stown, MD006

Housing Authoi‘ity of the City No. 13~6123 $299,735
of Frederick, MD()03

College Parl< I~Iousing No. 13-6124 843,7`30
Authority, MD017

l\/Ialden Housing Authority, No. 13-6125 $l,461,662
MA022

Northampton Housing No. 13-6126 $370,987
Authority, MA026

Wakeiield Housing No. 13~6127 8106,539
Authority, MA074

Ter<sbury Housing No. 13-6128 $32,750
Authority, MA138

Dedharn I~lousing Authority, No. 13~6129 $81,062
MA040

Norwood Housing Authority, No. 13-6130 33,302
MA109

Holyol<e Housing Authority, No. 13»6131 $()

MA005

 

 

 

 

 

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Wobui'n Housing Authority,
MA019

No.

13-6132

$0

 

Lawrence Housing Authol‘ity,
MA010

No.

13~6133

31,298,757

 

Cambridge Housing
Authority, MA003

No.

13-6134

$0

 

Taunton Housing Authority,
MA017

No.

13-6135

$0

 

lshpeming Housing
Cornrnission, MIIOl

No.

13~6136

$160,747

 

Besserner Housing
Cornrnission, M1012

No.

13-6137

$79,847

 

Monroe Housing
Commission, M1011

.13-6138

$1,001,999

 

Battie Creek l-lousing
Commission, M1035

.13-6139

$496,889

 

Houghton Housing
Cornmission, l\/II] 07

.13~6140

344,895

 

Bay City Housing
Commission, M1024

.13-6141

$43,654

 

East Tawas Housing
Cornrnission, l\/l1102

.13-6142

$31,391

 

Housing and Redeveloprnent
Authority of Duluth, MN003

. 13»6143

$0

 

Housing and Redevelopment
Authority of Virginia,
MN()07

No.

13-6144

$158,198

 

City of Hopl<;ins Housing and
Redevelopment Authority,
MN078

No.

13-6145

$110,073

 

Housing and Redevelopment
Authority of Grand Rapids,
MNOS?

. 13~6146

$90,601

 

Wadena Housing and
Redeveloprnent Authcrity,
MN018

No.

13-6147

8109,216

 

Woithington Housing and
Redeveloprnent Authority,
MN034

Nc.

13-6148

8195,384

 

Dal<ota County Community
Developrnent Agency,
MN147

No.

13-6149

$189,685

 

 

Windorn Housing and
Redevelcprnent Authoi‘ity,
MN080

 

No.

13-6151

 

$118,653

 

 

 

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Mountain Lake Housing and No. 13-6152 835,120
Redeveiopment Authority,

l\/1N058

Redwood Falls Housing and No. 13-6154 861,888
Redevelopment Authority,

MN036

Housing Authority of the City No. 13-6155 80
of Biloxi, MS()US

Housing Authority of the City No. 13-6156 8540,457
of West Point, MSOSQ

Housing Authority of the City No. 13-6157 8418,769
of Clarksdaie, MS()07

Tennessee Valiey Regional No. 13-61 5 8 83,461,223
Housing Authority, MSOO6

Vicl<sburg chsing No. 13~6159 80
Authority, MSO86

Laurel chsing Authority, No. 13-6160 81,079,240
M8002

Mississippi Regional luiousing No. 13-6161 8488,956
Authority No. V, MSO30

Housing Authority of the City No. 13-6162 8316,325
of Water Valiey, MSO78

Yazoo City Housing No. 13-6163 $551,125
Authority, M8063

Hattiesbui‘g Housing No. 13~6164 8563,002
Authority, MSOOI

Winona Housing Authority, No. 13-6165 863,532
MSO82

Natchez Housing Authority, No. 13~6166 8651,667
MSlOS

Housing Authority of the City No. 13~6167 8127,081
of luka, MSO75

Housing Authority of the City No. 13~63 57 878,417
of Vandalia, MO 1 79

Housing Authority of the City No. 13~6169 8204,818
of Charleston, M0012

Housing Authority of the City No. 13-6170 898,856
of Anaconda, MT005

Richland County Housing No. 13-6171 80
Authoi'ity, MTOU6

Great Falls Housing No. 13-6172 8919,856
Authci‘ity, MT002

1-~10using Authority of No. 13-6173 8458,995

Billings, MT001

 

 

 

 

 

 

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blousing Authority of the No. 13-6174 886,854
County of Scotts Bluff,

NE078

Housing Authority ofthe City No. 13-6175 882,566
of Lexington, NE010

Housing Authority of the City No. 13-6176 8266,494
of Frernont, NE100

Housing Authority of the City No. 13-6177 8110,957
of York, NE094

Fairrnont Housing Authority, No. 13-6178 832,826
NE064

Strornsburg Housing No. 13-6179 89,510
Authority, NE017

Alliance Housing Authority, No. 13-6180 8155,384
NE141

McCook liousing Agency, No. 13-6181 844,024
NE123

Chappell Housing Authority, No. 13 -6182 83 8,202
NE1 15

Ainsworth Housing No. 13 ~6183 829,142
Authority, NE035

Ansley Housing Authoi'ity, No. 13-6184 824,445
NE11 1

Aurora Housing Authority, No. 13-6185 846,700
NE090

Bassett Housing Authority, No. 13-6186 831,174
NE071

Beenier Housing Authority, No. 13~6187 836,562
NE099

Biue Hill Housing Authority, No. 13~6188 858,855
NE031

Columbus Housing No. 13~6189 874,966
Authority, NE104

Housing Authority of the City No. 13-6190 819,486
of Cozad, NE083

David City Housing No. 13-6191 863,169
Authol‘ity, NE025

Fairbury Housing Authority, No. 13-6192 865,501
NE030

Falis City Housing Authoi'ity, No. 13~6193 888,698
NE095

Friend Housing Authority, No. 13~6194 844,326
NE063

Gothenburg Housing No. 13-6195 855,13'7

Authority, NE120

 

 

 

 

 

 

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Hay Springs Housing No. 13~6196 85,7'21
Authority, NE046

Humboldt Housing No. 13-6197' 828,969
Authority, NEO 14

Housing Authority ofthe City No. 13-6198 8430,632
of North Platte, NE125

Ord Housing Authority, No. 13-6199 8121,327
NE005

Pawnee City Housing No. 13-6200 884,513
Authority, NE028

Red Cloud Housing No. 13-6201 843,842
Authority, NE006

Stanton Housing Authority, No. 13-6202 836,725
NE029

Sutheriand Housing No. 13-6203 827,720
Authority, NE096

Wilber Housing Authoi'ity, No. 13-6204 824,459
NE047

Clay Center Housing No. 13-6205 841,522
Authority, NE019

Housing Authority of the City No. 13-6206 828,456
Of Reno, NV001

Dover Housing Authority, No. 13-6207 8460,742
NH003

Housing Authority of the No. 13-6208 8130,842
Town of Salcm, NH017

Lebanon Housing Authority, No. 13-6209 8148,265
NI-1009

Housing Authority of the No. 13~6210 833,068
Borough of MadisonJ NJ 105

Housing Authority of the City No. 13-621 1 82,979,417
Oi` Elizabeth, NJ 003

Housing Authority of the No. 13-6212 824,082
Borough of Belrnar, NJ 057

Housing Authority of the No. 13-6213 867,108
Township of Neptune, NJO48

Housing Authority of No. 13~6215 8381,618
Gioucester County, N.`l204

Housing Authority of the City No. 13-6216 82,094,359
of Bayonne, NJ 012

1-Iousing Authority of the City No, 13-6217 8127,520
of Beverly, NJ 018

Housing Authoi'ity of the City No. 13-6218 8131,121

of Florence, N.103 8

 

 

 

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Housing Authority of the City No. 13-6219 8991,141
of Pei'th Arnboy, NJ 006

Housing Authority of the City No. 13-6220 8149,337
of Burlington, NJ 020

Pleasantville Housing No. 13-6221 892,579
Authority, N1059

Lal<ewood Housing No. 13-6223 8732,852
Authority, NJ054

Housing Authority of the No. 13-6224 821,958
ToWnship of Bei'l<eley, NJ 056

Santa Fe Civic Housing No. 13-6225 8973,415
Authority, NM009

Elrnira Housing Authority, No. 13-6226 8112,540
NY030

Kingston Housing Authority, No. 13~6227 8525,243
NY045

Auburn Housing Authoi'ity, No. 13-6228 8146,618
NY066

City of Loekport Housing No. 13-6229 8778,144
Authoi'ity, NY070

Watervliet Housing No. 13~6230 8427,797‘
Authority, NY025

Kenrnore Housing Authority, No. 13~6231 8307,269
NY400

Jarnestown Housing No. 13-6232 8287,003
Authority, NY017

Saratoga Springs Housing No. 13-6233 8313,327
Authority, NY020

Glovcrsville Housing NO. 13-6234 8694,109
Authority, NY048

NeW York State Pubiic No. 13~6235 80
Housing Authorities

Directors Association

Watertown Housing No. 13-6236 8605,455
Authority, NY010

Arnsterdarn chsing No. 13-6237 8720,763
Authority, NY060

Niagara Falls Housing No. 13-6238 81,827,596
Authority, NY011

lthaca Housing Authority, No. 13~6239 8751,900
NY054

Rochester Housing Authoi'ity, No. 13-6240 $1,694,033
NY041

Cohoes Housing Authority, No. 13-6241 8421,020

NY022

 

 

 

 

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Town of Islip Housing No. 13~6242 8549,120
Authority, NY077

City of Oneida Housing No. 13-6243 $278,016
Authority, NY102

Wilson Housing Authority, No. 13-6246 832,750
NC020

Housing Authority ofthe City No. 13-6248 81,323,094
of Rocky Mount, NC019

Washington I-lousing No. 13-6249 81,089,654
Authority, NC032

Mid-EastRegional Housing No. 13-6250 8475,233
Authority, NC087

Eastern Caroiina Regional No. 13-6251 8818,703
Housing Authority, NC010

Laurinburg Housing No. 13-6252 80
Authol'ity, NC018

Maxton Housing Authority, No. 13-6253 8103,637
NC048

Scuthern Pincs Housing No. 13-6254 838,316
Authority, NC052

HOusing Authority of the City No. 13-6255 80
of Winston-Salem, NC012

City of Shelby, Departrnent No. 13-6256 8311,723
of Housing, NC034

Redevelopment Commission No. 13-6257 8338,940
of the ToWn of Tai'boro,

NC017

F argo Housing and No. 13-6258 821,538
Redevelopnient Authoi'ity,

ND014

Coiumbus Metropolitan No. 13-6259 80
Housing Authority, OH001

Jefferson Metropolitan No. 13-6260 8974,062
Housing Authority, OH014

Lucas Metropolitan Housing No. 13-6261 80
Authority, OH006

Jackson Metropolitan No. 13-6262 8174,198
Housing Authority, 01~1040

ri`rurnbuil l\/Ietropolitan No. 13~6264 80
Housing Authol'ity, 01“1008

Housing Authority of the City No. 13-6265 8239,041
of Stillwatei', OK146

Oklahoma City Housing No. 13~6266 81,804,771

Authority, OK002

 

 

 

 

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Housing Authority of the City No. 13-6267 8249,340
of Muskogee, OK099

Stiliwell Housing Authority, No. 13-6268 8160,956
OK067

Housing Authority ofthe City No. 13-6269 887,152
of Heni‘yetta, OK142

Housing Authority and Ui‘ban No. 13~6270 8434,113
Renewa1 Agency of Poik

County, OR008

North Bend City Housing No. 13-6271 80
Authority, OR009

Coos-Cui'ry Housing No. 13-6272 8112,496
Authority, OR020

Housing and Comrnunity No. 13~6273 832,691
Services Agency of Lane

County, OR006

Housing Authoi'ity of the No. 13-6274 82,743,702
County of Beavei‘, PA014

McKean County Nc. 13-6275 8370,075
Redevelopinent and Housing

Authority, PA080

Scranton Housing Authority, No. 13-6276 81,595,176
PA003

1~10using Authority of the City No. 13-6277 8358,793
of Shamokin, PA055

Housing Authority of the City No. 13~6278 8176,600
of Ailentown, PA004

Bucl<s County Housing No. 13-6279 81,087,050
Authoi‘ity, PA051

liousing Authority of the No. 13-6280 8634,991
County of Lebanon, PA052

Housing Authority of the No. 13-6281 8347,326
County of Warren, PA079

Housing Authority of l\/Ioni'oe No. 13-6282 891,746
County, PA028

Sunbury Housing Authority, No. 13-6283 8701,379
PA053

Reading chsing Authority, No. 13-6285 81,483,752
PA009

Housing Authority of the City No. 13-6286 8176,753
of Wiikes-Ban'c, PA047

Snyder County Housing No. 13-6287 8106,835
Authority, PA092

HOusing Authority ot` the No. 13-6288 83,689

Town of Warren, R1022

 

 

 

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Town of Westeriy Housing No. 13-6289 894,744
Authority, R1008

'Town of Lincoln Housing No. 13-6290 8287,815
Authority, R1018

Cranston Housing Authority, No. 13-6291 81,175,645
R1006

Housing Authority of No. 13-6292 8836,871
Newport, R1005

Town ofNorth Providenee No. 13-6293 883,945
Housing Authority, R1017

Warwicl< Housing Authority, No. 13-6294 8859,140
RIOl l

Smitht`zeld Housing No. 13~6295 8100,815
Authority, R1020

Woonsocket Housing No. 13-6296 8459,939
Authority, R1003

East Providence Housing No. 13-6297 8813,179
Authority, R1007

Town of Bristol Housing No. 13-6298 8261,180
Authority, RIOI 9

Housing Authority of the City No. 13-6299 80
of Charleston, SC001

Housing Authority of the City No. 13-6300 8427,055
of Greenwood, SC030

Housing Authority of the City No. 13-6301 80
01` Chester, SC020

Housing Authority of Nc. 13-6302 8967,270
Fiorence, SC027

Housing Authority of No. 13'63 03 8154,466
CheraW, SC031

South Carolina Regionai No. 13-63 04 81,094,539
Housing Authority No. 1,

SC008

Housing Authority of 13 ort No. 13-6305 818,027
Mill, SC036

Housing Authoi‘ity of the City No. 13-6306 8444,038
of Marion, SC021

Howard Housing and No. 13~6307 835,119
Redevelopment Comrnission,

SD013

Mcl\/Iinnville Housing No. 13-6308 8247,700
Authority, '1'N053

Shelbyville I-Iousing No. 13~6309 895,078

Authority, TN039

 

 

 

 

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FayetteviIle Housing No. 13~6310 80
Authority, TN014

i\/luri`reesboro Housing No. 13-631 1 8240,218
Authority, TNOZO

Gal1atin I~Iousing Authority, No. 13-6312 81,166,123
TN029

South Can:hage Housing No. 13-6313 8147,199
Authoi'ity, TN072

Maitin Housing Authority, No. 13-6314 851,78'7
TN069

Union City Housing No. 13-6315 823 9,474
Authority, 11\1009

Meti'opoiitan Deve1opinent No. 13-6316 84,311,859
and Housing Agency,

Nashvifle, TN005

Lafayettc Housing Authority, No. 13-6317 8210,468
11\1090

Knoxville Cornrnunity No. 13-6318 82,581,145
Development Corpoi'ation,

TN003

Hartsvilie Housing Authority, No. 13-6319 857,542
TNO'H

Taylor Housing Authority, No, 13~6320 80
TX031

Housing Authority of the City No. 13-6321 8157,273
of Lcckhart, TX211

Ternpie Housing Authority, No. 13-6322 8184,566
'FX030

Belton Housing Authority, No. 13-6323 8126,320
1`X213

Houston I-Iousing Authoi'ity, No. 13-6324 83,491,229
TX005

Housing Authoi'ity of the City No. 13-6325 81,510,546
of Beaumont, TX023

Housing Authority ofthe City No. 13-6326 80
of Corpus Christi, TX008

Waco Housing Authority, No. 13-6327 8404,197
TX010

Housing Authority of the City No. 13~6328 83 64,272
of Abilene, TX327

Housing Authcrity of the City No, 13-6329 8112,519
of Victoi‘ia, TX085

I-Iousing Authoi'ity of the City No. 13-6330 876,005

of chuin, TX303

 

 

 

 

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Housing Authority of the City No. 13-6331 81,336,376
of Galveston, TX017

Housing Authority of the City No. 13-6332 80
of LaredoJ TX01 1

Fort Worth Housing No. 13-6333 8243,077
Authority, TX004

Housing Authority of Salt No. 13-6334 8438,076
I,lake City, UT004

Springtield Housing No. 13~6335 8254,764
Authority, VT004

Burlington Housing No. 13-6336 8362,721
Authority, VT001

Everett Housing Authority, No. 13-6337 8591,514
WA006

Housing Authority of No. 13-6338 85,118
Sunnyside, WA035

Housing Authority of the City No. 13-6339 83,697
of Pasco and Franklin

County, WA021

Pierce County Housing No. 13~6340 8219,416
Authority, WA054

Peninsula Housing Authority, No. 13-6341 8161,890
WA004

Housing Authority of Kittitas No. 13-6342 856,603
County, WA009

Housing Authority of the City No. 13-6343 80
cf Anacortes, WA010

Housing Authority ofthe City No. 13-6344 8326,908
cf Bel1ingharn, WA025

Housing Authoi‘ity of No. 13-6345 8104,717
Whatcorn County, WA041

Housing Authority of the City No. 13-6346 817,515
of Yakilna, WA042

Housing Authority of No. 13-6347 8179,042
BenWood~McI\/Iechen,

WV014

Housing Authority of the City No. 13~6348 81,404,047
of Wheeling, WV003

Char1eston-Kanawha Housing No. 13-6349 81,504,627
Authoray, Wvooi `

Housing Authcrity of the City No. 13~63 50 832,3 52
of Moundsville, WV011

Housing Authority of the City Nc. 13~6351 8158,808

cf Mount Hope, WV007

 

 

 

 

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Housing Authority of the City No. 13-63 52 862,936
of South Charleston, WV022

Winnebago County Housing No. 13-63 53 8155,055
Authority, WI213

Dane County Housing No. 13-6354 80
Authority, WI214

Appleton Housing Authoi'ity, No. 13-6355 8220,744
W1065

Housing Authority of the City No. 13-63 56 8472,698
of Cheyenne, WY002

Totaf: 8136,654,144

 

 

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